                 Case 8:20-cv-00048-JVS-JDE Document 1992 Filed 07/02/24 Page 1 of 5 Page ID
                                                 #:170440

             1     MARK D. SELWYN, SBN 244180
                    mark.selwyn@wilmerhale.com
             2     THOMAS G. SPRANKLING, SBN 294831
                    thomas.sprankling@wilmerhale.com
             3     WILMER CUTLER PICKERING
                    HALE AND DORR LLP
             4     2600 El Camino Real, Suite 400
                   Palo Alto, California 94306
             5     Tel: 650.858.6000 / Fax: 650.858.6100
             6     JOSHUA H. LERNER, SBN 220755
                     joshua.lerner@wilmerhale.com
             7     WILMER CUTLER PICKERING
                   HALE AND DORR LLP
             8     1 Front Street, Suite 3500
                   San Francisco, CA 94111
             9     Tel.: 628.235.1000 / Fax: 628.235.1001
           10      AMY K. WIGMORE, pro hac vice
                    amy.wigmore@wilmerhale.com
           11      WILMER CUTLER PICKERING
                   HALE AND DORR LLP
           12      2100 Pennsylvania Ave NW
                   Washington, DC 20037
           13      Tel.: 202.663.6000 / Fax: 202.663.6363
           14      [Counsel appearance continues on next page]
           15      Attorneys for Defendant Apple Inc.
           16
                                   UNITED STATES DISTRICT COURT
           17            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
                   MASIMO CORPORATION,                         CASE NO. 8:20-cv-00048-JVS (JDEx)
           19      a Delaware corporation; and
                   CERCACOR LABORATORIES, INC.,                DEFENDANT APPLE INC.’S
           20      a Delaware corporation,                     SUPPLEMENTAL MEMORANDUM
                                                               IN SUPPORT OF ITS OPPOSITION
           21                         Plaintiffs,              TO PLAINTIFFS’ MOTION FOR
                                                               PROTECTIVE ORDER
           22            v.                                    PRECLUDING DEFENDANT FROM
                                                               DISCLOSING PLAINTIFFS’
           23      APPLE INC.,                                 CONFIDENTIAL MATERIALS TO
                   a California corporation,                   DR. PATRICK MERCIER
           24
                                      Defendant.
           25                                                  Judge:            Judge James V. Selna
                                                               Date/Time:        7/1/24 at 3:00PM
           26                                                  Discovery Cutoff:       7/15/24
           27                                                  Final Pre-Trial Conf.: 10/28/24
                                                               Trial:                  11/5/24
           28

Wilmer Cutler
Pickering Hale            APPLE’S SUPPL. MEMO. ISO OPP’N TO PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER
and Dorr LLP
                                              CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 1992 Filed 07/02/24 Page 2 of 5 Page ID
                                                 #:170441

             1     JOSEPH J. MUELLER, pro hac vice
                    joseph.mueller@wilmerhale.com
             2     SARAH R. FRAZIER, pro hac vice
                    sarah.frazier@wilmerhale.com
             3     WILMER CUTLER PICKERING
                    HALE AND DORR LLP
             4     60 State Street
                   Boston, MA 02109
             5     Tel: 617.526.6000 / Fax: 617.526.5000
             6     NORA Q.E. PASSAMANECK, pro hac vice
                    nora.passamaneck@wilmerhale.com
             7     WILMER CUTLER PICKERING
                    HALE AND DORR LLP
             8     1225 Seventeenth Street, Suite 2600
                   Denver, CO 80202
             9     Tel.: 720.274.3152 / Fax: 720.273.3133
           10      BRIAN A. ROSENTHAL, pro hac vice
                    brosenthal@gibsondunn.com
           11      GIBSON, DUNN & CRUTCHER LLP
                   200 Park Avenue
           12      New York, NY 10166-0193
                   Tel.: 212.351.2339 / Fax: 212.817.9539
           13
                   KENNETH G. PARKER, SBN 182911
           14       Ken.parker@haynesboone.com
                   HAYNES AND BOONE, LLP
           15      660 Anton Boulevard, Suite 700
                   Costa Mesa, CA 92626
           16      Tel. 650.949.3014 / Fax: 949.202.3001
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28

Wilmer Cutler
Pickering Hale            APPLE’S SUPPL. MEMO. ISO OPP’N TO PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER
and Dorr LLP
                                              CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 1992 Filed 07/02/24 Page 3 of 5 Page ID
                                                 #:170442

             1                                          ARGUMENT
             2           Apple submits the supplemental declaration of Professor Mercier to provide
             3     further information regarding his position as co-Director of the University of California
             4     at San Diego’s Center for Wearable Sensors (the “Center”). See Passamaneck Decl. Ex.
             5     L. Professor Mercier’s work at the Center should not disqualify him from receiving
             6     Plaintiffs’ confidential information because the Center is an academic institution that
             7     does not develop any commercial products or applications for industry. Id. ¶4. Indeed,
             8     Professor Mercier is not permitted to conduct commercial activities as part of his
             9     employment at USCD. Id. ¶4. Plaintiffs have focused on the fact that the Center
           10      “partners” with companies, but these “partnerships” are only for purposes of obtaining
           11      grant money – companies donate to the Center, and the Center uses those donations to
           12      fund academic research by Center faculty. Id. ¶6. Plaintiffs have failed to show the
           13      Center is in any way a “competitor” of Plaintiffs as would be necessary to sustain an
           14      objection pursuant to Section 9.2(c) of the Protective Order.
           15            The mechanics of the Center underscore that it is not generating trade secrets or
           16      the like for partners’ products, but rather it is engaged in academic research with general
           17      applicability. Faculty submit academic research proposals in response to either (1)
           18      industry challenge projects that the partners propose, or (2) open innovation projects that
           19      faculty propose. Ex. L ¶8. After donating, partners vote on which proposals to fund,
           20      with proposals with the most votes getting funded. Id. As co-Director, Professor
           21      Mercier does not have a vote. Id. ¶7. The academic research proposals are not specific
           22      to any partner’s products, as all partners have equal access to the Center’s resulting
           23      research and Center faculty may publish any Center-funded research. And although the
           24      Center describes that partners can benefit through a possible “commercialization engine
           25      with [a] lab-to-market focus,” Ex. B at 3, that benefit is outside the Center and not under
           26      Professor Mercier’s direction. Ex. L ¶9. As a result, the Center’s research is removed
           27      from developing any company-specific industry products or applications—because
           28

Wilmer Cutler
                          APPLE’S SUPPL. MEMO. ISO OPP’N ON PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER
Pickering Hale                                CASE NO. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
                                                               1
                 Case 8:20-cv-00048-JVS-JDE Document 1992 Filed 07/02/24 Page 4 of 5 Page ID
                                                 #:170443

             1     industry partners do not direct research beyond suggesting general industry challenge
             2     projects and because any research may be published to the world.
             3           Plaintiffs assert that Professor Mercier should be disqualified because he has
             4     acknowledged that “industry partners direct at least some of the Center’s work,” and that
             5     “the Center’s industry partners include some of [Plaintiffs’] competitors.” Ex. K, at 3.
             6     But these assertions miss the point – Plaintiffs have the burden of establishing that
             7     Professor Mercier through his role at the Center competes with Plaintiffs, not the
             8     Center’s industry partners that fund its basic research. Plaintiffs further assert that the
             9     Center’s partnerships present an “unreasonable risk of misuse and inadvertent
           10      disclosure,” id., but these (unfounded) assertions do not establish competition between
           11      the Center and Plaintiffs. Considering this work as competition to Plaintiffs would mean
           12      that any industry-funded research is a basis to disqualify academic professors as experts,
           13      regardless of whether they work to develop any products competitive to a litigant. That
           14      would stretch the concept of “competition” beyond the breaking point.
           15            Plaintiffs also argue that Apple does not deny that “Professor Mercier is involved
           16      in the development of sensor systems to monitor heart rate, hydration levels, blood sugar,
           17      and more.” Ex. K, at 3. Again, this does not address the appropriate inquiry under the
           18      protective order of whether Professor Mercier, the Center, and any employer of
           19      Professor Mercier competes with Plaintiffs. They do not. Moreover, Professor Mercier
           20      attested that he has “not worked with any companies to develop optical sensors for
           21      commercial applications or products,” and the “Center and UCSD do not use the
           22      Center’s academic research to develop any commercial products or applications for
           23      industry.” Ex. J., Mercier Decl. ¶¶5-6.
           24            That leaves only Professor Mercier’s participation on the Scientific Advisory
           25      Board of NeuroVigil, but again, any Masimo “brain sensor” work has absolutely nothing
           26      to do with this case such that there is no need for Professor Mercier to review materials
           27      relating to such work. Plaintiffs nonetheless argue that Apple’s proposal that it will not
           28

Wilmer Cutler
                          APPLE’S SUPPL. MEMO. ISO OPP’N ON PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER
Pickering Hale                                CASE NO. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
                                                               2
                 Case 8:20-cv-00048-JVS-JDE Document 1992 Filed 07/02/24 Page 5 of 5 Page ID
                                                 #:170444

             1     provide Plaintiffs’ confidential documents that discuss Sedline® is impractical given
             2     that Plaintiffs have produced over 30,000 documents referring to this product. Dkt.
             3     1988, at 4. Yet any basic production database search can identify documents discussing
             4     Sedline®. Apple reiterates that it will ensure that Professor Mercier does not receive
             5     such documents.
             6           Opening expert reports are due in less than two weeks. There is no cause for
             7     Masimo to further delay disclosure of Plaintiffs’ confidential information to Professor
             8     Mercier. He has committed to strictly follow the Protective Order, and there is no basis
             9     for the suggestion that he would violate (intentionally or inadvertently) the strictures of
           10      the Protective Order.
           11
           12      Dated: July 2, 2024                     Respectfully submitted,

           13                                              MARK D. SELWYN
           14                                              AMY K. WIGMORE
                                                           JOSHUA H. LERNER
           15                                              JOSEPH J. MUELLER
           16                                              SARAH R. FRAZIER
                                                           NORA Q.E. PASSAMANECK
           17                                              THOMAS G. SPRANKLING
           18                                              WILMER CUTLER PICKERING
                                                           HALE AND DORR LLP
           19
           20                                              BRIAN A. ROSENTHAL
                                                           GIBSON, DUNN & CRUTCHER LLP
           21
           22                                              KENNETH G. PARKER
                                                           HAYNES AND BOONE, LLP
           23
           24
           25                                              By: /s/ Mark D. Selwyn_____
                                                               Mark D. Selwyn
           26
           27
                                                           Attorneys for Defendant Apple Inc.
           28

Wilmer Cutler
                          APPLE’S SUPPL. MEMO. ISO OPP’N ON PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER
Pickering Hale                                CASE NO. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
                                                               3
